
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $1,000.00 for providing classroom training to Brooke High School students seeking to obtain a contractor’s license in West Virginia. The training was provided through an agreement with respondent. The documentation for these services was not processed for payment within the appropriate fiscal year; therefore, claimant has not been paid. In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in the appropriate fiscal year from which the invoice could have been paid.
In view of the foregoing, the Court is of the opinion to and does make an *69award to claimant in the amount of $1,000.00.
Award of $1,000.00.
